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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 STEVEN LEON DAVIS,        )
 Individually and As Personal
                           )
 Representative of the Estate of
                           )
 MARY ALICE DAVIS,         )
 Deceased,                 )
                           )
        Plaintiff,         )
                           )                     CASE NO: 2:12-CV-0373-JMS-WGH
        vs.                )
                           )
 WILLIAM RYAN SUTHERLAND, )
 M.D., and HIRISADARAHALLY )
 NAGARAJA, M.D.,
                           )
        Defendants.        )

                     STIPULATION FOR DISMISSAL WITH PREJUDICE

         The parties, by counsel, stipulate that all claims of the plaintiff against defendants,

 William Ryan Sutherland, M.D. and Hirisadarahally Nagaraja, M.D. (n/k/a Raj N. Nagaraj,

 M.D.), arising out of the matters and facts alleged in plaintiff’s Complaint for Damages should

 be dismissed with prejudice to the plaintiff, at plaintiff’s costs, costs paid.

         WHEREFORE, the parties request that the Court dismiss plaintiff’s claims against

 defendants, William Ryan Sutherland, M.D. and Hirisadarahally Nagaraja, M.D. (n/k/a Raj N.

 Nagaraj, M.D.), with prejudice to plaintiff, at plaintiff’s costs, costs paid, in accordance with this

 Stipulation.
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                                      Respectfully submitted,

                                      GARAU, GERMANO, MODESITT,
                                      WILKINSON & DRUMMY


                                      By: s/ Deborah K. Pennington
                                              Deborah K. Pennington/#6559-36
                                              Attorney for Plaintiff,
                                              Stephen Leon Davis, individually and as
                                              Personal Representative of the Estate of
                                              Mary Alice Davis, Deceased

 151 N. Delaware Street, Suite 1515
 Indianapolis, IN 46204
 Telephone: (317) 822-9530


                                      WILKINSON GOELLER MODESITT
                                      WILKINSON & DRUMMY


                                      By: s/ William W. Drummy
                                             William W. Drummy/#4607-84
                                             Attorney for Defendant,
                                             Ryan Sutherland, M.D.

 333 Ohio Street
 Terre Haute, IN 47807
 Telephone: (812) 232-4311


                                      CARSON BOXBERGER LLP


                                      By: Edward J. Liptak
                                            Edward J. Liptak/#9821-02
                                            Attorney for defendant
                                            Hirisadarahally Nagaraja, M.D.
                                            n/k/a Raj N. Nagaraj

 3100 John Hinkle Place, Suite 106
 Bloomington, Indiana 47408
 Telephone: (812) 333-1225




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